Case 3:21-cv-01960-TAD-KDM Document 3 Filed 08/06/21 Page 1 of 1 PageID #: 25




                     UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF LOUISIANA
                           MONROE DIVISION
Audrena Smith & Denise Johnson-Nelson                        Civil Action No.: 21-cv-1960
               Plaintiffs                                    Judge Terry A Doughty
       vs.
Louisiana State Police; Lamar Davis, in his individual
and official capacity as the Louisiana State Police          Magistrate Judge: Kayla McClusky
Superintendent ;John Doe 1, in his individual
Capacity as a Louisiana State Police trooper; John Doe
2, in his individual capacity as a Louisiana State Police
Trooper; John Doe 3, in his individual capacity as a
Louisiana State Police trooper; John Doe 4, in his
individual capacity as a Louisiana State Police
trooper,

               Defendants                                    Jury Trial
                                                Under Fed. R. Civ 38(b)
******************************************************************************
                   VOLUNTARY DISMISSAL OF ALL CLAIMS

       On motion of Dwayne Burrell, Attorney for Plaintiffs, Audrena Smith & Denise Johnson-

Nelson, and on suggesting to the Court that the Plaintiffs now desire to dismiss their claims in the

above numbered and entitled cause of action against all parties, namely Louisiana State Police,

Lamar Davis, John Doe 1, John Doe 2, John Doe 3, and John Doe 4.

                                                      Respectfully submitted:

                                                      THE BURRELL FIRM LLC:

                                                      /s/ Dwayne Burrell
                                                      __________________________
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                                                      Allen Burrell (#37621)
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